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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

                        Plaintiff,
v.                                                          Cause No. 1:19-cr-03113-JB

ROBERT PADILLA, et al.,

                        Defendants.

     UNOPPOSED MOTION FOR PRODUCTION OF ALLEGED CO-CONSPIRATOR
      STATEMENTS AND FOR PRE-TRIAL HEARING ON THEIR ADMISSIBILITY

          Defendant Tomas Sanchez, by counsel, The Law Office of Ryan J. Villa, by Ryan J. Villa,

hereby respectfully moves the Court for the production of any and all alleged co-conspirator

statements that the government seeks to introduce under Fed. R. Evid. 801(d)(2)(E) in this matter

and for a pre-trial hearing on the admissibility of those statements, and as grounds for the motion

state as follows:

     I.      Introduction

          On September 11, 2019, a grand jury returned a 19-count Indictment charging all 12

Defendants with conspiracy to commit distribution of controlled substances. See Indictment, Count

1 [Doc. 2]. Each Defendant is also charged in one or more of the other 18 counts. Id. at Counts 2-

19. Mr. Sanchez is individually charged in Count 1: conspiracy in violation of 21 U.S.C. § 846;

Count 6: possession with intent to distribute fentanyl in violation of 21 U.S.C. § 841(a)(1) and

(b)(1)(C); and Count 7: possession with intent to distribute cocaine in violation of 21 U.S.C. §

841(a)(1) and (b)(1)(C). Counts 6 and 7 allege Mr. Sanchez’s conduct occurred between October

17 to November 8, 2018. While Count 1 alleges a conspiracy from September 17, 2018 to

September 10, 2019, no evidence exists that Mr. Sanchez participated in the conspiracy other than

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allegedly between October 17 to November 8, 2018. The Indictment alleges that some of the

Defendants were involved in the distribution of cocaine base, heroin, and methamphetamine. See

Indictment at 2-5 [Doc. 2]. Mr. Sanchez is not accused of distributing these drugs. Id. Mr. Sanchez

is only accused of being involved in the distribution of cocaine and fentanyl. Id. at 2-3, 5. There is

basis to believe, given the discovery provided, that that the only evidence involving Mr. Sanchez

and the conspiracy that the government has are phone calls obtained via wiretap in which he

allegedly communicated with Mr. Padilla while Mr. Padilla’s phone was the subject of a Title III

wire intercept. Mr. Sanchez contends these intercepted calls do not establish that he was the

member of any conspiracy, but at worst may have been a user of drugs.

          Given Mr. Sanchez’s limited involvement in what appears to be a much broader conspiracy

and the lack of evidence he was ever a member of any such conspiracy, he requests the Court order

the government to produce any co-conspirator statements it intends to use against Mr. Sanchez at

trial and to conduct a James hearing to determine if sufficient evidence exists to introduce any

such statements against Mr. Sanchez. Requiring the government to produce these statements and

conducting a pretrial hearing will conserve valuable judicial resources during the trial of this

matter.

          Assistant United States Attorney, Robert Goldaris was contacted for the government’s

position, and the government does not oppose this motion as it relates to Tomas Sanchez.



   II.       The Court should require the government to promptly produce any alleged co-
             conspirator statements it seeks to introduce at trial and should hold a pre-trial
             hearing on the admissibility of those statements.

          The Federal Rules of Evidence define hearsay as “a statement, other than one made by the


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declarant while testifying at the trial or hearing, offered in evidence to prove the truth of the matter

asserted.” Fed. R. Evid. 801(c). Hearsay evidence is not admissible. See Fed. R. Evid. 802. The

government may hurdle the barrier of the hearsay rule in some cases with testimony from a co-

conspirator. See United States v. Owens, 70 F.3d 1118, 1125 (10th Cir.1995). Rule 801(d)(2)(E)

excludes from the definition of hearsay “a statement by a co-conspirator of a party during the

course and in furtherance of the conspiracy.”

       To admit out-of-court statements by co-conspirators as non-hearsay pursuant to rule

801(d)(2)(E), the United States must demonstrate by a preponderance of the evidence that: (i) a

conspiracy existed; (ii) the declarant and the defendant were members of that conspiracy; and (iii)

the statements that the United States seeks to admit were made during the course and in furtherance

of the conspiracy. See United States v. Sinclair, 109 F.3d 1527, 1533 (10th Cir. 1997); United

States v. Johnson, 911 F.2d 1394, 1403 (10th Cir. 1990). “Before admitting a co-conspirator’s

statement over an objection that it does not qualify under Rule 801(d)(2)(E) . . . [t]here must be

evidence that there was a conspiracy involving the declarant and the non-offering party, and that

the statement was made in the course and in furtherance of the conspiracy.” Bourjaily v. United States,

107 S.Ct. 2775, 2778 (1987). The existence of the conspiracy and the defendant’s involvement in that

conspiracy are preliminary questions of fact that, under Rule 104 of the Federal Rules of Evidence,

must be resolved by the court. Id.; see also United States v. Warman, 578 F.3d 320, 336 (6th Cir. 2009)

(“On the question of admissibility, the court is tasked with making specific findings on each of the

Rule 801(d)(2)(E) elements with respect to the contested statements.”) .

       In determining the admissibility of co-conspirator statements, “[t]he strongly preferred

order of proof” is for the district court to hold a hearing “outside the presence of the jury to

determine by a preponderance of the evidence the existence of a predicate conspiracy.” See United
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States v. Urena, 27 F.3d 1487, 1491 (10th Cir. 1994); see also United States v. James, 590 F.2d

575 (5th Cir. 1979). A failure to make the required factual findings before admitting evidence of

a co-conspirator’s statements under Fed. R. Evid. 801(d)(2)(E) is an abuse of discretion. See

United States v. Perez, 989 F.2d 1574, 1581 (10th Cir.1993) (en banc).

       A. The court must make preliminary factual determinations on the basis of
          independent evidence as to whether a conspiracy existed and as to whether Mr.
          Sanchez was a member.

       In order to admit any statements under the hearsay exception contained in Rule

801(d)(2)(E), the Court must first find, by a preponderance of evidence, that a conspiracy existed.

The Court must also find, by a preponderance of the evidence, that the Mr. Sanchez was a member

of the conspiracy before proceeding to determine whether any statements are admissible as co-

conspirator statements. See Bourjaily, 483 U.S. at 177-81. “The preliminary question of the

existence of a conspiracy and the defendant’s participation in it may also coincide with an ultimate

question of fact for the jury if a conspiracy is charged in the indictment. Nevertheless, the fact-

finding responsibilities of the judge and jury are distinct.” United States v. Enright, 579 F.2d 980,

985 (6th Cir. 1978). In making its preliminary factual determination as to whether a conspiracy

exists, the court may consider the co-conspirator statement sought to be admitted as evidence of

the conspiracy; however, the proffered co-conspirator statement alone is not sufficient to establish

the existence of a conspiracy. See Fed. R. Evid. 801(d)(2)(E); United States v. Lopez-Gutierrez,

83 F.3d 1235, 1242 (10th Cir.1996).

       The government must also submit “some independent evidence linking the defendant to

the conspiracy.” United States v. Martinez, 825 F.2d 1451, 1453 (10th Cir.1987)). The Tenth

Circuit has defined “independent evidence” as “evidence other than the proffered coconspirator


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statements themselves.” Id. at 1451. This independent evidence must be more than a mere buyer

seller relationship with the alleged co-conspirators because there is not a common purpose. United

States v. Jones, 2016 WL 561895, at *2 (N.D. Ill. Feb. 12, 2016) (quoting United States v.

Johnson, 437 F.3d 665, 675 (7th Cir. 2006) (“Evidence that the defendant was in a mere buyer-

seller relationship with the alleged coconspirator is insufficient to establish a conspiracy.”); United

States v. Cruse, 805 F.3d 795, 811 (7th Cir. 2015)).

       B. The Court must determine whether statements were made during the course of
          the conspiracy and in furtherance of the conspiracy.

       If the Court determines that the first two requirements are met, it then proceeds to the third

requirement for Rule 801(d)(2)(E) admissibility, which has two parts. First, the statement in

question must have been made “during the course” of the conspiracy. Second, the statement must

have been made “in furtherance of the conspiracy.” “A coconspirator statement is made ‘during

the course’ of the conspiracy if it is made before the objectives of the conspiracy have either failed

or been achieved.” Owens, 70 F.3d at 1126 (quoting Perez, 989 F.2d at 1579). A statement is “in

furtherance of the conspiracy” if it is “intended to promote the conspiratorial objectives.” United

States v. Reyes, 798 F.2d 380, 384 (10th Cir.1986).

       The Tenth Circuit has emphasized that “Rule 801(d)(2)(E) is a ‘limitation on the

admissibility of co-conspirators’ statements that is meant to be taken seriously” and has

highlighted “the need to protect the accused against idle chatter of criminal partners as well as

inadvertently misreported and deliberately fabricated evidence.” Perez, 989 F.2d at 1578.

(emphasis in original).

       The Tenth Circuit has also held that statements are not in furtherance of the conspiracy if

they are “mere narratives,” that is “statements relating to past events, even those connected with

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the operation of the conspiracy, where the statement serves no immediate or future conspiratorial

purpose. See United States v. Wolf, 839 F.2d 1387, 1393 (10th Cir.), cert. denied, 488 U.S. 923

(1988); United States v. Roberts, 14 F.3d 502, 514-515 (10th Cir.1993); see also United States v.

Foster, 711 F.2d 871, 880 (9th Cir.1983), cert. denied, 465 U.S. 1103 (1984) (noting that “mere

narrative declarations” made without the intent to induce assistance for the conspiracy do not fall

within the “strict requirements” of Rule 801); United States v. Darwich, 337 F.3d 645, 657-658

(6th Cir.2003) (oberserving statements by the defendant’s nephews about the amount of marijuana

they had packaged the previous evening were casual conversation and not made “in furtherance”

of the conspiracy); United States v. Cornett, 195 F.3d 776, 782-784 (5th Cir.1999) (finding

prejudicial error in admission of statements implicating defendant made regarding “such diverse

issues as the bowling prowess of certain friends and relatives, the appearance of some of the

patrons at the bowling alley, the merits of certain designer outfits and the respective talents of

certain exotic dancers”); United States v. Mitchell, 31 F.3d 628, 632 (8th Cir.1994) (holding that

a statement that “simply informs a listener” of speaker’s criminal acts does not satisfy the in-

furtherance requirement); United States v. Urbanik, 801 F.2d 692, 698-99 (4th Cir.1986) (finding

prejudicial error in admission of statement identifying defendant as a marijuana connection, which

was “merely a casual aside”). “A declarant’s statement explaining the current status of the

conspiracy is ‘in furtherance’ of that conspiracy only if the addressee is also a co-conspirator.” See

United States v. Weaver, 507 F.3d 178, 185–186 (3d Cir. 2007).

       In the case at hand, Mr. Sanchez is not connected to main conspiracy with independent

evidence. The only evidence the government has relating to Mr. Sanchez to as a member of a

subset of the alleged main conspiracy, is that obtained by statements made by co-conspirators


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primarily via wiretap phone calls. Therefore, the government should produce any additional co-

conspirator statements that it intends to introduce at trial and this Court should hold a hearing to

ascertain the admissibility of those statements, whether there was independent evidence that a

conspiracy existed and that Mr. Sanchez was a member, and whether any statements made were

during the course of the conspiracy and in furtherance of the conspiracy.

   III.      Conclusion

          Wherefore, for the foregoing reasons, Mr. Sanchez respectfully requests that the Court

order the Government to promptly produce the alleged co-conspirator statements it intends to

introduce at trial in this matter. Furthermore, Mr. Sanchez requests that the Court hold a pre-trial

hearing in order to make findings with regard to the admissibility of these statements under Rule

801(d)(2)(E).



                                                             Respectfully submitted,
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on December 30, 2020, I filed the foregoing electronically through the
CM/ECF system, which caused all parties or counsel to be served by electronic means, as more
fully reflected on the Notice of Electronic Filing.

/s/ Ryan J. Villa
RYAN J. VILLA
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